USCA Case #24-5150               Document #2058940            Filed: 06/11/2024       Page 1 of 1


                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 24-5150                                                     September Term, 2023
                                                                          1:21-cv-00418-RBW
                                                       Filed On: June 11, 2024 [2058940]
Robert B. Bergdahl,

                   Appellee

         v.

United States of America,

                   Appellant


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Consolidated with 24-5154

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be consolidated as
cross-appeals. Appellant in case No. 24-5154 is directed to file the following
document(s) by the indicated date(s):

          Docketing Statement Form                                        July 11, 2024
          Statement of Issues to be Raised                                July 11, 2024

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Emily K. Campbell
                                                              Deputy Clerk

The following forms and notices are available on the Court's website:

         Civil Docketing Statement Form
